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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

MAJOR GEORGE TILLERY,
     Petitioner                           :                         CIVIL ACTION

              v.                          :

KENNETH EASON, et al.,
     Respondents                          :                         NO. 20-2675

                                          ORDER

       AND NOW, this       14th       day of      October                        , 2020, Respondents’

motion for an extension of time to file a response by December 7, 2020, is GRANTED.

                                                 BY THE COURT:


                                                   /s/ Timothy R. Rice
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                                                 The Honorable Timothy R. Rice
                                                 United States Magistrate Judge
